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B1 (Official Form 1) (4/13)                                                              Document     Page 1 of 33
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                          NORTHERN DISTRICT OF ILLINOIS
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Swearengin, Ornella
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   5583                                                                                (if more than one, state all):
  Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
  2533 E. 73rd St
  Chicago, IL
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               60649
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Cook                                                                 Principal Place of Business:
  Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

  SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
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 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             Ornella Swearengin
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 ILLINOIS NORTHERN                                                                   13-10574 (ch7)                                               3/18/2013
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Richard S. Bass                                                           12/12/2014
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Ornella Swearengin
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Ornella Swearengin
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     12/12/2014                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Richard S. Bass                                                          I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Richard S. Bass 6189009
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Law Office of Richard S. Bass LTD                                          pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     2021 Midwest Road                                                          or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.
     Suite #200
     Oak Brook, IL                     60523
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     630-953-8655
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     12/12/2014                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
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                             UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have
the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay
your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
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         Form B 201A, Notice to ConsumerDocument
                                         Debtor(s) Page 5 of 33                                         Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can
prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the
bankruptcy court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $75 administrative fee: Total fee $310)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both.
All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney
General acting through the Office of the United States Trustee, the Office of the United States Attorney, and other
components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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In re Ornella Swearengin                                                                         ,                Case No.
                        Debtor(s)                                                                                                              (if known)


                                               SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


None                                                                                                                                               None




No continuation sheets attached                                                            TOTAL $                             0.00
                                                                    (Report also on Summary of Schedules.)
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In re Ornella Swearengin                                                                                  ,                  Case No.
                                                   Debtor(s)                                                                                                     (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                     N            Description and Location of Property                                                  Value
                                                                                                                                                of Debtor's Interest,
                                                    o                                                                       Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                    n                                                                                            Secured Claim or
                                                                                                                               Joint--J
                                                    e                                                                     Community--C               Exemption


1. Cash on hand.                                        Cash                                                                                                 $100.00
                                                        Location: In debtor's possession


2. Checking, savings or other financial                 Checking Account: Chase Bank                                                                         $200.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building         Location: In debtor's possession
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,         X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                     Misc used household goods & furnishings                                                          $1,000.00
   including audio, video, and computer
   equipment.                                           Location: In debtor's possession


5. Books, pictures and other art objects,               Misc used personal items, books & pictures                                                           $100.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or               Location: In debtor's possession
   collectibles.



6. Wearing apparel.                                     Misc used personal clothing                                                                          $400.00
                                                        Location: In debtor's possession


7. Furs and jewelry.                                X

8. Firearms and sports, photographic, and           X
   other hobby equipment.

9. Interests in insurance policies. Name            X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such



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In re Ornella Swearengin                                                                                ,     Case No.
                                                   Debtor(s)                                                                                 (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                     N            Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                    o                                                         Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                    n                                                                        Secured Claim or
                                                                                                                 Joint--J
                                                    e                                                       Community--C         Exemption

   interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and         X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims            Personal Injury Claim (Debtor is plaintiff                                       Unknown
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to          for auto accident claim Date of injury 11
    setoff claims. Give estimated value of              -30-2013    Debtor injured back & neck
    each.
                                                        Attorney representing debtor is Law Office
                                                        of Dombrowski, Sorenzen & Gigac (Joseph
                                                        Dombrowski) 670 N. Clark St    Chicago IL.
                                                         60654   312-943-7804. Insurance carrier is
                                                        Liberty Mutual Insurance)
                                                        Location: In debtor's possession


                                                        Personal Injury Cliam (Debtor was injured                                        Unknown
                                                        in auto accident. Injury Date: 5/2014
                                                        Debtor vehicle was rear ended. Debtor
                                                        injured back & neck    Attorney for debtor:
                                                        Law Office Chandulal Patel 4074 S. Archer
                                                        Ave Suite #137 Chicago IL. 60632 773-376
                                                        -0210 Insurance carrier for other party is
                                                        State Farm)
                                                        Location: In debtor's possession




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                        Case 14-44298
B6B (Official Form 6B) (12/07)                         Doc 1   Filed 12/12/14 Entered 12/12/14 09:36:26                       Desc Main
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In re Ornella Swearengin                                                                               ,              Case No.
                                                  Debtor(s)                                                                                              (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                         (Continuation Sheet)

                                                                                                                                             Current
                 Type of Property                  N            Description and Location of Property                                          Value
                                                                                                                                        of Debtor's Interest,
                                                   o                                                                  Husband--H        in Property Without
                                                                                                                          Wife--W          Deducting any
                                                   n                                                                                     Secured Claim or
                                                                                                                         Joint--J
                                                   e                                                                Community--C             Exemption

22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other            2010 Dodge Avenger                                                                      $11,500.00
    vehicles and accessories.
                                                       Location: In debtor's possession


26. Boats, motors, and accessories.                X

27. Aircraft and accessories.                      X

28. Office equipment, furnishings, and             X
    supplies.

29. Machinery, fixtures, equipment and             X
    supplies used in business.

30. Inventory.                                     X

31. Animals.                                       X

32. Crops - growing or harvested.                  X
    Give particulars.

33. Farming equipment and implements.              X

34. Farm supplies, chemicals, and feed.            X

35. Other personal property of any kind not        X
    already listed. Itemize.




Page       3      of    3                                                                                        Total                          $13,300.00
                                                                                                                     (Report total also on Summary of Schedules.)
                                                                                                           Include amounts from any continuation sheets attached.
                    Case 14-44298
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In re
        Ornella Swearengin                                                                     ,                  Case No.
                          Debtor(s)                                                                                                                (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                  Current
             Description of Property                                Providing each                             Claimed              Value of Property
                                                                      Exemption                               Exemption             Without Deducting
                                                                                                                                       Exemptions


Cash                                                735 ILCS 5/12-1001(b)                                          $ 100.00                     $ 100.00

Checking Account: Chase Bank                        735 ILCS 5/12-1001(b)                                          $ 200.00                     $ 200.00

Misc used household goods &                         735 ILCS 5/12-1001(b)                                       $ 1,000.00                $ 1,000.00
furnishings

Misc used personal items,                           735 ILCS 5/12-1001(a)                                          $ 100.00                     $ 100.00
books & pictures

Misc used personal clothing                         735 ILCS 5/12-1001(a)                                          $ 400.00                     $ 400.00

Personal Injury Claim                               735 ILCS 5/12-1001(h)(4)                                   $ 15,000.00                       Unknown

Personal Injury Cliam                               735 ILCS 5/12-1001(h)(4)                                   $ 15,000.00                       Unknown

2010 Dodge Avenger                                  735 ILCS 5/12-1001(c)                                       $ 2,400.00              $ 11,500.00




    Page No.      1 of       1

* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)



In re Ornella Swearengin                                                                            ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated




              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed




                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:   4362                                              2013                                                                      $ 16,065.00                      $ 4,565.00
                                                                Purchase Money Security
Creditor # : 1                                                  2010 Dodge Avenger       (Paid
Chrysler Financial                                              INSIDE Plan)
Attn:   Bankruptcy Dept
PO Box 9223
Farmington Hills MI 48333-9223

                                                                 Value:   $ 11,500.00
Account No:




                                                                 Value:
No continuation sheets attached                                                                                Subtotal $                 $ 16,065.00                      $ 4,565.00
                                                                                                            (Total of this page)
                                                                                                                     Total $              $ 16,065.00                      $ 4,565.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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In re Ornella Swearengin                                                                                 ,                             Case No.
                                            Debtor(s)                                                                                                       (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      1 No continuation sheets attached
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Official Form 6E (04/13) - Cont.                   Doc 1                    Filed 12/12/14 Entered 12/12/14 09:36:26                                             Desc Main
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In re Ornella Swearengin                                                                                                      ,                            Case No.
                                             Debtor(s)                                                                                                                            (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                             (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:              Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                        Date Claim was Incurred and                                             Amount of     Amount        Amount not
                                                                               Consideration for Claim                                                Claim       Entitled to    Entitled to
               Including ZIP Code,                                                                                                                                 Priority       Priority,




                                                                                                                                      Unliquidated
                                                                                                                                      Contingent
              and Account Number

                                                         Co-Debtor
                                                                                                                                                                                   if any




                                                                                                                                      Disputed
                                                                     H--Husband
              (See instructions above.)                              W--Wife
                                                                     J--Joint
                                                                     C--Community

Account No:                                                            2012                                                                          $ 1,631.00 $ 1,631.00            $ 0.00
Creditor # : 1                                                         Arrearage on Federal Income Tax
Internal Revenue Service
Centralized Insolvency Operat
PO BOX 7346
Philadelphia PA 19101-7346



Account No:




Account No:




Account No:




Account No:




Sheet No.                                                                                                                         Subtotal $          1,631.00        1,631.00          0.00
               1 of         1      continuation sheets                                                                      (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                            Total $
                                                                       (Use only on last page of the com pleted Schedule E. Report total also         1,631.00
                                                                                                                 on Sum m ary of Schedules)

                                                                                                                                     Total $
                                                                          (Use only on last page of the com pleted Schedule E. If applicable,                         1,631.00          0.00
                                                                            report also on the Statistical Sum m ary of Certain Liabilities and
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In re Ornella Swearengin                                                                                          ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          7670
Account No:                                                             2009-2014                                                                                                                        $ 770.00
Creditor # : 1                                                          Loan
1st Loans (Buckeye Check Cashing
of Il, LLC)
Attn: Collections
4705 N. Pulaski Rd
Chicago IL 60630

          5926
Account No:                                                             2009-2014                                                                                                                          $ 0.00
Creditor # : 2                                                          Notice to Collector
Arnold Scott Harris, P.C.
RE: City of Chicago
111 W. Jackson Blvd   #600
Chicago IL 60604


          9991
Account No:                                                             2009-2014                                                                                                                        $ 942.00
Creditor # : 3                                                          Collection
CCB Credit Service
RE: First Premier Bank
PO BOX 272
Springfield IL 62705-0272


     3 continuation sheets attached                                                                                                                 Subtotal $                                        $ 1,712.00
                                                                                                                                                                    Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Ornella Swearengin                                                                                          ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          7480
Account No:                                                             2014                                                                                                                             $ 170.00
Creditor # : 4                                                          Traffic Violations
City of Chicago
Department of Revenue
PO BOX 88292
Chicago IL 60680-1292


Account No:                                                             2009-2014                                                                                                                        $ 584.00
Creditor # : 5                                                          Traffic Violations
City of Chicago
Department of Finance
121 N. LaSalle, Room 107A
Chicago IL 60602


Account No:                                                             2014                                                                                                                          $ 1,635.00
Creditor # : 6                                                          Judgement
City of Chicago                                                         City of Chicago                     14 VP 010203
Department of Revenue
PO BOX 88292
Chicago IL 60680-1292


          5340
Account No:                                                             2009-2014                                                                                                                          $ 0.00
Creditor # : 7                                                          Medical Bills
Comer Childrens Hospital
Attn: Patient Accts
5730 S. Drexel Ave
Chicago IL 60637


          1745
Account No:                                                             2009-2014                                                                                                                     $ 3,212.00
Creditor # : 8                                                          Student Loan
Dept of Education-MOHELA
Attn: Bankruptcy Dept
PO BOX 105347
Atlanta GA 30348-5347




Sheet No.      1 of        3 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 5,601.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Ornella Swearengin                                                                                          ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3956
Account No:                                                             2009-2014                                                                                                                        $ 535.00
Creditor # : 9                                                          Collection on Medical Bills
Grant & Weber
RE: St Mary & Elizabeth Med
861 Coronado Ctr Dr #211
Henderson NV 89052


          7931
Account No:                                                             2009-2014                                                                                                                         $ 59.00
Creditor # : 10                                                         Insurance Premium
Insure on the Spot Credit
Attn: Collections
5485 N. Elston Ave
Chicago IL 60630-1456


Account No:                                                             2012                                                                                                                               $ 0.00
Creditor # : 11                                                         Notice
Law Office of Steven Fink                                               Cook County Case 12 M1 130754
RE JSRI Inc
421 N. Northwest Hwy #201
Barrington IL 60010


Account No:                                                             2012                                                                                                                          $ 1,347.00
Creditor # : 12                                                         Collection
Law Office of Steven Fink                                               Cook County Case 12 M1 130754
RE JRSI Inc
25 E. Washington St #1233(a)
Chicago IL 60602


          3571
Account No:                                                             2009-2014                                                                                                                        $ 378.00
Creditor # : 13                                                         Medical Bills
Resuurrection Health Care
Attn: Patient Accts
62314 Collection Center Dr
Chicago IL 60693-0623




Sheet No.      2 of        3 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 2,319.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-44298              Doc 1                 Filed 12/12/14 Entered 12/12/14 09:36:26                                                                        Desc Main
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In re Ornella Swearengin                                                                                          ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          6573
Account No:                                                             2009-2014                                                                                                                     $ 2,207.00
Creditor # : 14                                                         Loan
Speedy Cash
Attn: Collections
8701 S. Cottage Grove Ave
Chicago IL 60619


Account No:




Account No:




Account No:




Account No:




Sheet No.      3 of        3 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 2,207.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                      $ 11,839.00
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-44298
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In re Ornella Swearengin                                                                                       / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




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In re Ornella Swearengin                                                                      / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




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B6 Summary (Official Form 6 - Summary) (12/13)   Doc 1       Filed 12/12/14 Entered 12/12/14 09:36:26                                  Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION
   In re Ornella Swearengin                                                                                                  Case No.
                                                                                                                             Chapter 13


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $                         0.00

 B-Personal Property
                                             Yes                3        $                13,300.00

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                1                                          $              16,065.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                2                                          $                1,631.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                4                                          $              11,839.00

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                3,347.50

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                          $                2,600.00

                                  TOTAL                       16         $                13,300.00 $                     29,535.00
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B6 Declaration (Official Form 6 - Declaration) (12/13)            Filed 12/12/14 Entered 12/12/14 09:36:26                         Desc Main
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In re Ornella Swearengin                                                                                                  Case No.
                                                         Debtor                                                                                               (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      17     sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   12/12/2014                                      Signature   /s/ Ornella Swearengin
                                                                          Ornella Swearengin




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
 B 7 (Official FormCase
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

In re: Ornella Swearengin                                                                                 ,           Case No.
                                               Debtor                                                                                      (if known)




                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date:$45,000.00app                               2014 Wages from employment
   Last Year: $25,000.00app                              2013 Wages from employment
Year before: $20,000.00app                               2012 Wages from employment


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)




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       3. Payments to creditors
None   Complete a. or b., as appropriate, and c.

       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
       creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
       filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)




None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
       commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
       an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
       repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
       must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
       were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                             NATURE OF                                     COURT OR AGENCY
AND CASE NUMBER                             PROCEEDING                                      AND LOCATION                                 STATUS OR DISPOSITION

City of Chicago v.                          Municipal code                                City of Chicago                                Judgement
Swearengin,Ornella                          violation                                     Department of
M.                                                                                        Administrative
14 VP 010203                                                                              Hearings


JRSI Inc vs.                                Collection                                    Cook County Circuit                            Judgment
Ornella Swearengin                                                                        Court
12 m1 130754


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                                                                       Statement of Affairs - Page 2
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       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
       family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
       (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
        this case.

                                                       DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                              NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Richard S. Bass                                 Date of Payment:                                             $300.00
Address:                                               Payor: Ornella Swearingin
2021 Midwest Road
Oak Brook, IL 60521


       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
       or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
       of which the debtor is a benificiary.




       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
       within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
       other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial


                                                                                                                    Statement of Affairs - Page 3
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       institutions. (Married debtors filing under chapter
                                                                  Document             Page 25 of 33
                                                              12 or chapter 13 must include information concerning accounts or instruments held by or for    either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)




       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.




       15. Prior address of debtor
None   If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
       period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                                                                                                   DATES OF
ADDRESS                                                                NAME USED                                                                   OCCUPANCY

Debtor: Ornella Swearengin                                             Name(s): Same as on petition                                                2010-14
Address: 7204 S. South Shore Dr
#2C
Chicago IL


       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
       New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
       the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




       17. Environmental Information
None   For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
       wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
       cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
       debtor,
       including, but not limited to disposal sites.

       "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
       similar termunder an Environmental Law:

       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
       under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




                                                                                                                                Statement of Affairs - Page 4
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 None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
         governmental unit to which the notice was sent and the date of the notice.




 None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
         party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




         18. Nature, location and name of business
 None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
         self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
         which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                  If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.




 None    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




         19. Books, records and financial statements
 None    a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
         books of account and records of the debtor.




 None    b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
         or prepared a financial statement of the debtor.




                                                                                                                               Statement of Affairs - Page 5
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None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
       any of the books of account and records are not available, explain.




None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
       within two years immediately preceding the commencement of this case.




       20. Inventories
None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
       amount and basis of each inventory.




None   b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
       percent or more of the voting or equity securities of the corporation.




       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
       commencement of this case.




       23. Withdrawals from a partnership or distribution by a corporation
None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
       loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




                                                                                                                            Statement of Affairs - Page 6
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         24. Tax Consolidation Group.
None     If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
         of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




         25. Pension Funds.
None     If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
         responsible for contributing at any time within six years immediately preceding the commencement of the case.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   12/12/2014                        Signature     /s/ Ornella Swearengin
                                                of Debtor


                                                Signature
       Date
                                                of Joint Debtor
                                                (if any)




                                                                                                                  Statement of Affairs - Page 7
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    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No.(Required by 11 U.S.C. § 110.)


If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,, responsible
person, or partner who signs this document.




Address



   X
       Signature of Bankruptcy Petition Preparer                                                                            Date




Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.




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                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION
        Ornella Swearengin                                                                          Case No.
In re
                                                                                                    Chapter 13
                                                                                         / Debtor
        Attorney for Debtor:   Richard S. Bass

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           4,000.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                    300.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $               3,700.00

3. $             310.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 12/12/2014                              Respectfully submitted,


                                              X /s/ Richard S. Bass
                        Attorney for Petitioner: Richard S. Bass
                                                 Law Office of Richard S. Bass LTD
                                                 2021 Midwest Road
                                                 Suite #200
                                                 Oak Brook IL 60523
                                                 630-953-8655
                                                 rbass@corpoffices.com
            Case 14-44298          Doc 1      Filed 12/12/14 Entered 12/12/14 09:36:26                Desc Main
                                               Document     Page 31 of 33
                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION


In re Ornella Swearengin                                                                  Case No.
                                                                                          Chapter 13
                                                                            / Debtor
    Attorney for Debtor:   Richard S. Bass



                                       VERIFICATION OF CREDITOR MATRIX


                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 12/12/2014                                                   /s/ Ornella Swearengin
                                                                   Debtor
Case 14-44298   Doc 1   Filed 12/12/14   Entered 12/12/14 09:36:26   Desc Main
                  1st Loans (Buckeye Page
                        Document      Check32Cashing
                                              of 33 of Il,
                  Attn: Collections
                  4705 N. Pulaski Rd
                  Chicago, IL 60630

                  Arnold Scott Harris, P.C.
                  RE: City of Chicago
                  111 W. Jackson Blvd   #600
                  Chicago, IL 60604

                  CCB Credit Service
                  RE: First Premier Bank
                  PO BOX 272
                  Springfield, IL 62705-0272

                  Chrysler Financial
                  Attn:   Bankruptcy Dept
                  PO Box 9223
                  Farmington Hills, MI 48333-9223

                  City of Chicago
                  Department of Finance
                  121 N. LaSalle, Room 107A
                  Chicago, IL 60602

                  City of Chicago
                  Department of Revenue
                  PO BOX 88292
                  Chicago, IL 60680-1292

                  Comer Childrens Hospital
                  Attn: Patient Accts
                  5730 S. Drexel Ave
                  Chicago, IL 60637

                  Dept of Education-MOHELA
                  Attn: Bankruptcy Dept
                  PO BOX 105347
                  Atlanta, GA 30348-5347

                  Grant & Weber
                  RE: St Mary & Elizabeth Med
                  861 Coronado Ctr Dr #211
                  Henderson, NV 89052

                  Insure on the Spot Credit
                  Attn: Collections
                  5485 N. Elston Ave
                  Chicago, IL 60630-1456

                  Internal Revenue Service
                  Centralized Insolvency Operat
                  PO BOX 7346
                  Philadelphia, PA 19101-7346

                  Law Office of Steven Fink
                  RE JRSI Inc
                  25 E. Washington St #1233(a)
                  Chicago, IL 60602
Case 14-44298   Doc 1   Filed 12/12/14   Entered 12/12/14 09:36:26   Desc Main
                  Law Office of Steven
                        Document       Fink
                                    Page 33 of 33
                  RE JSRI Inc
                  421 N. Northwest Hwy #201
                  Barrington, IL 60010

                  Resuurrection Health Care
                  Attn: Patient Accts
                  62314 Collection Center Dr
                  Chicago, IL 60693-0623

                  Richard S. Bass
                  2021 Midwest Road
                  Suite #200
                  Oak Brook, IL 60523

                  Speedy Cash
                  Attn: Collections
                  8701 S. Cottage Grove Ave
                  Chicago, IL 60619

                  Ornella Swearengin
                  2533 E. 73rd St
                  Chicago, IL 60649
